         Case 1:20-cv-05937-ALC                 Document 1        Filed 07/30/20        Page 1 of 11




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------X   Case No.
BRIAN LEE,

                                   Plaintiff,

                 - against -                                                 COMPLAINT

GROVE GROUP ADVISORS LLC,                                                    PLAINTIFF DEMANDS
GROVE GROUP MANAGEMENT, INC., and                                            A JURY TRIAL
KEVIN SHIN, Individually,

                                    Defendants.

-------------------------------------------------------------------------X

        Plaintiff, BRIAN LEE, by and through his attorneys, NISAR LAW GROUP, P.C., hereby

complains of Defendants, upon information and belief, as follows:

                                         NATURE OF THE CASE

1.      Plaintiff brings this action against Defendants for failure and refusal to pay Plaintiff

        earned wages pursuant to the New York State Labor Law, Articles 6 & 19 (“NYLL”)

        and/or for failure and refusal to pay Plaintiff minimum wage and overtime owed for

        work performed pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

        (“FLSA”) and the NYLL.

2.      As a result of Defendants’ violations of the NYLL and FLSA, Plaintiff is entitled to: (a)

        the full amount of underpayment, (b) attorneys’ fees and costs, (c) prejudgment interest,

        and (d) an additional amount as liquidated damages equal to one hundred percent of the

        total amount of the wages found to be due.

3.      Plaintiff also brings an action against Defendants for breach of contract as a result of

        Defendants’ failure and refusal to pay Plaintiff for accrued and unused paid time off

        (“PTO”) pursuant to an agreement entered into between the parties.
      Case 1:20-cv-05937-ALC            Document 1      Filed 07/30/20      Page 2 of 11




                               JURISDICTION AND VENUE

4.    Jurisdiction of this Court is proper under § 216(b) of the FLSA (29 U.S.C. § 216 (b)) and

      28 U.S.C. §§ 1331 and 1343.

5.    The Court has supplemental jurisdiction over Plaintiff’s claims brought under state law

      and common law pursuant to 28 U.S.C. § 1367.

6.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) as it is a judicial district

      in which a substantial part of the events or omissions giving rise to the claims occurred.

                                           PARTIES

7.    At all times relevant, Plaintiff BRIAN LEE (“Plaintiff”) was and is a resident of the State

      of New Jersey and Bergen County.

8.    At all times relevant, Defendant GROVE GROUP ADVISORS LLC (“GG

      ADVISORS”) was and is a foreign limited liability company, duly existing pursuant to,

      and by virtue of, the laws of the State of Delaware, and which lawfully conducts business

      in the State of New York, with its principal place of business located at 450 Lexington

      Avenue, 4th Floor, New York, NY 10017.

9.    At all times relevant, Defendant GROVE GROUP MANAGEMENT, INC. (“GG

      MANAGEMENT”) was and is a Delaware corporation, unregistered in the State of New

      York, with its principal place of business located at 450 Lexington Avenue, 4th Floor, New

      York, NY 10017.

10.   At all times relevant, and upon information and belief, Defendant GG ADVISORS and

      Defendant GG MANAGEMENT are “integrated employers,” as they have common

      management, share financial control of all companies, share centralized control of labor

      relations, and share employees.




                                               2
      Case 1:20-cv-05937-ALC           Document 1       Filed 07/30/20      Page 3 of 11




11.   At all times relevant, Plaintiff was an employee of both Defendant GG ADVISORS and

      Defendant GG MANAGEMENT.

12.   At all times relevant, Defendant KEVIN SHIN (“SHIN”) was and is an employee of

      Defendant GG ADVISORS and Defendant GG MANAGEMENT, holding the positions

      of “Chief Executive Officer/ Co-founder.”

13.   At all times relevant, Defendant SHIN was Plaintiff’s supervisor and had supervisory

      authority over him, including the power to hire, fire, and/or directly affect the terms and

      conditions of Plaintiff’s employment, as well as direct his daily work activities.

14.   Defendant GG ADVISORS, Defendant GG MANAGEMENT, and Defendant SHIN

      shall be herein referred to collectively as “Defendants.”

15.   At all times relevant, Defendants had the power to, and were responsible for, determining

      the wages to be paid to Plaintiff.

16.   At all times relevant, Defendants had the power to, and did in fact, establish the terms

      and conditions of Plaintiff’s employment, including Plaintiff’s duties, schedule, and rate

      of pay.

17.   The FLSA defines “employer” to include any person acting directly or indirectly in the

      interest of an employer in relation to an employee and an employee is anyone who is

      suffered or permitted to work.       As a result, including as further described below,

      Defendants are liable as “employers” under the FLSA.

18.   Defendants are also jointly and severally liable as joint employers under 29 C.F.R. §

      791.2 for the violations complained of herein.

19.   Upon information and belief, Defendants are engaged in interstate commerce within the

      meaning of the FLSA in that Defendants: (a) had and has employees engaged in




                                               3
      Case 1:20-cv-05937-ALC            Document 1      Filed 07/30/20     Page 4 of 11




      commerce or in the production of goods for commerce, and handles, sells, or otherwise

      works on goods or materials that have been moved in or produced for commerce by any

      person; and (b) had and has an annual gross volume of sales of not less than $500,000.00.

20.   Further, upon information and belief, during Plaintiff’s employment with Defendants,

      Plaintiff has routinely engaged in activities which facilitate or relate to interstate or

      foreign commerce, as well as handled goods and products that have been moved through

      interstate commerce.

                                      MATERIAL FACTS

21.   On or about July 26, 2019, Plaintiff and Defendant SHIN entered into an agreement in

      which Plaintiff agreed to work as “Manufacturing and Engineering Director” on behalf of

      Defendants at Superior Bio Science, Inc. (“SBS”), a partially-owned subsidiary of which

      Defendants are shareholders. In exchange, Defendants agreed to pay Plaintiff an annual

      salary of $160,000.

22.   On or about August 6, 2019, Plaintiff began working for Defendants as “Manufacturing

      and Engineering Director” at SBS, earning approximately $160,000 per year in annual

      salary.

23.   When Plaintiff began his employment, Defendant SHIN agreed to provide Plaintiff with

      fifteen (15) days of PTO per year (4.62 hours accrued each pay period) (the

      “Agreement”).

24.   At all times relevant, Plaintiff was an employee of Defendants on the following bases:

         a) Defendants substantially controlled and directed Plaintiff’s performance of his

                duties, including when, where, and how to perform his duties;

         b) Defendants had the power to terminate Plaintiff’s employment;




                                                4
      Case 1:20-cv-05937-ALC         Document 1       Filed 07/30/20      Page 5 of 11




         c) Defendants required Plaintiff’s regular attendance and his adherence to the

             policies and procedures of Defendants;

         d) Defendants put Plaintiff on their payroll and paid Plaintiff as an employee with

             withholdings and deductions;

         e) Defendants added Plaintiff to their company benefits plan and provided Plaintiff

             with health benefits;

         f) The work performed by Plaintiff required no capital investment by Plaintiff; and

         g) Plaintiff used the equipment provided by Defendants and performed work in the

             manner directed by Defendants.

25.   Throughout his employment, Plaintiff was an overall good employee and generally

      enjoyed working for Defendants.

26.   However, things changed in January 2020 when Defendants ceased paying Plaintiff any

      of his wages, in violation of the FLSA and the NYLL.

27.   Specifically, on or about Friday, January 10, 2020, although Plaintiff was supposed to

      receive his paycheck for the period of December 22, 2019 through January 4, 2020,

      Defendants failed to pay Plaintiff any wages.

28.   As such, Plaintiff immediately sent an email to David Chu (Defendants’ Co-Founder and

      HR Manager) advising that he “didn’t see payroll hit today.”

29.   In response, Mr. Chu assured Plaintiff that Defendants would pay him soon.

30.   While this was less-than-ideal, although Defendants wholly stopped compensating

      Plaintiff, he nonetheless continued as directed to execute his job duties faithfully, with

      the understanding that he would eventually receive all that he was owed.

31.   However, on or about Saturday, February 8, 2020, Defendant SHIN suddenly notified




                                              5
      Case 1:20-cv-05937-ALC          Document 1       Filed 07/30/20       Page 6 of 11




      Plaintiff that Defendants “voted that you be laid off immediately.”

32.   Thereafter, on or about February 12, 2020, Defendant SHIN provided Plaintiff with a

      letter informing him that:

              [Y]our last day of employment with [Defendants] will be Thursday,
              February 13, 2020. The compensation you are owed for the period from
              December 22, 2019 to February 13, 2020 is $24,000.02. We do not have
              the means to pay you at this time, but we are making every effort to raise
              money for the company in order to pay our liabilities, yours included.

33.   As such, on or about February 13, 2020, Plaintiff’s employment with Defendants that his

      employment was terminated.

34.   On or about May 15, 2020, more than three (3) months after being terminated,

      Defendants provided Plaintiff with a paycheck in the gross amount of only $3,846.15.

      Unfortunately, Defendants have not paid Plaintiff the balance of the wages that he is

      owed.

35.   Although Plaintiff has tried reaching out to Defendants on numerous occasions in an

      attempt to get paid, he has been unsuccessful, and instead simply told that, “We will let

      you know when we get the funds to pay you.”

36.   As a result of the foregoing, Plaintiff is still owed a total of $20,153.87 in unpaid earned

      wages for work performed for Defendants.

37.   Additionally, Plaintiff accrued and did not use sixty-four (64) hours of PTO valued at

      approximately $4,923.07, which Defendants have also failed and refused to pay to

      Plaintiff, in breach of the Agreement.

38.   In total, Defendants owe Plaintiff earned wages in the amount of approximately

      $20,153.87 as well as approximately $4,923.07 in accrued and unused PTO (64 hours),

      for a total of $25,076.94.




                                               6
      Case 1:20-cv-05937-ALC           Document 1       Filed 07/30/20     Page 7 of 11




39.   In the event Plaintiff is not entitled to recover unpaid wages at his salary rate (which, as

      mentioned, was $160,000 per year), he would be entitled to be paid minimum wage for

      all regular hours worked and time-and-one-half the minimum wage rate for all overtime

      hours worked. Failure to pay minimum wage and overtime is a violation of both the

      FLSA and NYLL.

40.   Plaintiff has been damaged by Defendants’ failure to pay his lawfully earned wages and

      benefits.

41.   Defendants’ failure to pay Plaintiff his earned wages and benefits required by law has

      been willful.

42.   Defendants’ conduct has been malicious, willful, outrageous, and conducted with full

      knowledge of the law. As such, Plaintiff demands Liquidated Damages as against all

      Defendants, jointly and severally.

                            AS A FIRST CAUSE OF ACTION
                      VIOLATION OF THE NEW YORK LABOR LAW
                          FAILURE TO PAY EARNED WAGES

43.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

      this complaint as if same were set forth herein fully at length.

44.   Defendants failed and refused to pay Plaintiff his earned wages “not less frequently than

      semi-monthly, on regular pay days designated in advance by the employer,” in violation

      of NYLL § 191(1)(d).

45.   Pursuant to NYLL § 191(2), “No employee shall be required as a condition of

      employment to accept wages at periods other than as provided in this section.”

46.   As a consequence, under NYLL § 198, Plaintiff is entitled to (a) the full amount of

      underpayment, (b) attorneys’ fees and costs, (c) prejudgment interest, and (d) an




                                                7
      Case 1:20-cv-05937-ALC           Document 1       Filed 07/30/20   Page 8 of 11




      additional amount as liquidated damages equal to one hundred percent of the total

      amount of the wages found to be due.

                       AS A SECOND CAUSE OF ACTION
                VIOLATION OF THE FAIR LABOR STANDARDS ACT
                              MINIMUM WAGE

47.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

      this complaint as if same were set forth herein fully at length.

48.   Defendants have willfully employed Plaintiff in the aforementioned enterprise and have

      failed to compensate Plaintiff at the required minimum hourly rate for his employment.

49.   Defendants’ failure to pay Plaintiff the mandated minimum hourly pay in accordance

      with the FLSA was and is a direct violation of the FLSA, specifically 29 U.S.C. § 206.

50.   Defendants’ failure to pay proper minimum wages for each hour worked was and is

      willful within the meaning of 29 U.S.C. § 255.

51.   Defendants’ failure to comply with the FLSA has caused Plaintiff to suffer loss of wages.

                        AS A THIRD CAUSE OF ACTION
                  VIOLATION OF NEW YORK LABOR LAW § 652(1)
                              MINIMUM WAGE

52.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

      this complaint as if same were set forth herein fully at length.

53.   Plaintiff was an employee of Defendants within the meaning of the NYLL.

54.   Defendants failed to pay Plaintiff the required minimum hourly wage rate for one hour of

      work.

55.   Defendants violated Plaintiff’s right to minimum wage pay under NYLL § 652(1); New

      York Labor Law, Article 19.

56.   Defendants also violated New York’s Minimum Wage Order of 12 NYCRR Part No.




                                                8
      Case 1:20-cv-05937-ALC          Document 1          Filed 07/30/20    Page 9 of 11




      142.

57.   Defendants’ actions were willful.

58.   Due to Defendants’ NYLL violations, Plaintiff is entitled to recover from Defendant his

      unpaid minimum wage in an amount to be determined at trial, plus an amount equal to

      100% of Plaintiff’s unpaid wages in the form of liquidated damages, as well as attorneys’

      fees and costs of the action, including pre- and post- judgment interest, pursuant to NYLL

      §§ 198 and 663(1).

                      AS A FOURTH CAUSE OF ACTION
               VIOLATIONS OF THE FAIR LABOR STANDARDS ACT
                               OVERTIME

59.   Plaintiff repeats, reiterates and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

60.   Defendants willfully employed Plaintiff for workweeks longer than forty (40) hours and

      failed to compensate Plaintiff for his employment in excess of forty (40) hours per week

      at a rate of at least one-and-one-half time the minimum wage rate.

61.   Defendants failed to pay overtime wages to Plaintiff as required by the FLSA, 29 U.S.C.

      § 201, et seq., and its implementing regulations.

62.   Defendants’ failure to pay Plaintiff overtime pay in accordance with the FLSA is a direct

      violation of the FLSA, specifically 29 U.S.C. § 207.

63.   Defendants’ failure to pay proper overtime wages for each hour worked over forty (40)

      per week was willful within the meaning of 29 U.S.C. § 255.

64.   Defendants’ failure to comply with the FLSA has caused Plaintiff to suffer damages.

                         AS A FIFTH CAUSE OF ACTION
                   VIOLATIONS OF THE NEW YORK LABOR LAW
                                  OVERTIME




                                               9
      Case 1:20-cv-05937-ALC          Document 1        Filed 07/30/20     Page 10 of 11




65.   Plaintiff repeats, reiterates and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

66.   Defendants willfully employed Plaintiff for workweeks longer than forty (40) hours and

      failed to compensate Plaintiff for his employment in excess of forty (40) hours per week

      at a rate of at least one-and-one-half time the minimum wage rate.

67.   Defendants failed to pay overtime wages to Plaintiff as required by the NYLL, Title 12

      NYCRR 142-2.2.

68.   Defendants’ failure to comply with the NYLL has caused Plaintiff to suffer damages.

                             AS A SIXTH CAUSE OF ACTION
                                BREACH OF CONTRACT

69.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

      this complaint as if same were set forth herein fully at length.

70.   The Agreement constitutes a valid and enforceable contract.

71.   Plaintiff has fully performed his obligations under the Agreement.

72.   Defendants have breached the Agreement by willfully refusing to pay amounts they were

      and are aware were and are owed under the Agreement.

73.   Defendants breached the Agreement by failing to pay Plaintiff his earned wages and as

      well as his accrued and unused PTO.

74.   As a consequence of Defendants’ breach, Plaintiff is entitled to all rights under the

      Agreement.




                                               10
      Case 1:20-cv-05937-ALC        Document 1       Filed 07/30/20    Page 11 of 11




   WHEREFORE, Plaintiff respectfully requests a judgment against Defendants:

A. Declaring that Defendants engaged in unlawful employment practices prohibited by the

   FLSA and the NYLL by failing to pay Plaintiff his earned wages and/or minimum wage, as

   well as unpaid overtime;

B. Declaring that Defendants breached the Agreement when they failed to pay Plaintiff at the

   agreed-upon rate;

C. Declaring that Defendants breached the Agreement when they failed to pay Plaintiff for his

   accrued and unused PTO;

D. Awarding damages to Plaintiff for all unpaid wages and benefits due under the FLSA, the

   NYLL, and the Agreement;

E. Awarding Plaintiff liquidated damages as a result of Defendants’ willful failure to pay

   wages;

F. Awarding Plaintiff attorneys’ fees, costs, and expenses incurred in the prosecution of the

   action; and

G. Awarding Plaintiff such other and further relief as the Court may deem equitable, just and

   proper to remedy Defendants’ unlawful employment practices.

Dated: New York, New York
       July 30, 2020
                                                         NISAR LAW GROUP, P.C.



                                                  By:    _________________________
                                                         Casimir Wolnowski, Esq.
                                                         Attorneys for Plaintiff
                                                         570 Lexington Ave., 16th Floor
                                                         New York, New York 10022
                                                         Ph: (646) 449-7210
                                                         Fax: (877) 720-0514
                                                         Email: cwolnowski@nisarlaw.com



                                             11
